                      Case 1:21-cv-00521-GWC Document 3 Filed 04/20/21 Page 1 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Western District
                                                 __________ Districtofof
                                                                       New  York
                                                                         __________

                      JD1, JD2, and JD3                          )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:21-cv-00521-GWC
                                                                 )
      CANISIUS COLLEGE, NATHAN HUCKLE,                           )
      WILLIAM MAHER, and DONOVAN GLAVIN
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)         Canisius College
                                           2001 Main Street
                                           Buffalo, NY 14208




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Brian M. Melber, Esq.                Lindy Korn, Esq.
                                       Scott R. Hapeman, Esq.               Catherine McCulle, Esq.
                                       PERSONIUS MELBER LLP                 THE LAW OFFICES OF LINDY KORN PLLC
                                       350 Main Street                      535 Washington Street
                                       2100 Main Place Tower                Electric Tower, 9th Floor
                                       Buffalo, NY 14202                    Buffalo, NY 14202

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:             04/20/2021
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-00521-GWC Document 3 Filed 04/20/21 Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                      Case 1:21-cv-00521-GWC Document 3 Filed 04/20/21 Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Western District
                                                 __________ Districtofof
                                                                       New  York
                                                                         __________

                      JD1, JD2, and JD3                          )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:21-cv-00521-GWC
                                                                 )
      CANISIUS COLLEGE, NATHAN HUCKLE,                           )
      WILLIAM MAHER, and DONOVAN GLAVIN
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)         Nathan Huckle
                                           2001 Main Street
                                           Buffalo, NY 14208




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Brian M. Melber, Esq.                Lindy Korn, Esq.
                                       Scott R. Hapeman, Esq.               Catherine McCulle, Esq.
                                       PERSONIUS MELBER LLP                 THE LAW OFFICES OF LINDY KORN PLLC
                                       350 Main Street                      535 Washington Street
                                       2100 Main Place Tower                Electric Tower, 9th Floor
                                       Buffalo, NY 14202                    Buffalo, NY 14202

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:             04/20/2021
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-00521-GWC Document 3 Filed 04/20/21 Page 4 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                      Case 1:21-cv-00521-GWC Document 3 Filed 04/20/21 Page 5 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Western District
                                                 __________ Districtofof
                                                                       New  York
                                                                         __________

                      JD1, JD2, and JD3                          )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:21-cv-00521-GWC
                                                                 )
      CANISIUS COLLEGE, NATHAN HUCKLE,                           )
      WILLIAM MAHER, and DONOVAN GLAVIN
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)         William Maher
                                           2001 Main Street
                                           Buffalo, NY 14208




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Brian M. Melber, Esq.                Lindy Korn, Esq.
                                       Scott R. Hapeman, Esq.               Catherine McCulle, Esq.
                                       PERSONIUS MELBER LLP                 THE LAW OFFICES OF LINDY KORN PLLC
                                       350 Main Street                      535 Washington Street
                                       2100 Main Place Tower                Electric Tower, 9th Floor
                                       Buffalo, NY 14202                    Buffalo, NY 14202

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:             04/20/2021
                                                                                      Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-00521-GWC Document 3 Filed 04/20/21 Page 6 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                      Case 1:21-cv-00521-GWC Document 3 Filed 04/20/21 Page 7 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Western District
                                                 __________ Districtofof
                                                                       New  York
                                                                         __________

                      JD1, JD2, and JD3                             )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 1:21-cv-00521-GWC
                                                                    )
      CANISIUS COLLEGE, NATHAN HUCKLE,                              )
      WILLIAM MAHER, and DONOVAN GLAVIN
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)         Donovan J. Glavin
                                           30 Turning Leaf Lane
                                           Rochester, NY 14612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Brian M. Melber, Esq.                   Lindy Korn, Esq.
                                       Scott R. Hapeman, Esq.                  Catherine McCulle, Esq.
                                       PERSONIUS MELBER LLP                    THE LAW OFFICES OF LINDY KORN PLLC
                                       350 Main Street                         535 Washington Street
                                       2100 Main Place Tower                   Electric Tower, 9th Floor
                                       Buffalo, NY 14202                       Buffalo, NY 14202

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:             04/20/2021
                                                                                        Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-00521-GWC Document 3 Filed 04/20/21 Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
